Case: 4:24-cv-00881-SPM          Doc. #: 1     Filed: 06/24/24    Page: 1 of 25 PageID #: 1




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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI

  KAMIL WILKINSON, Individually and on             Case No:
  behalf of all others similarly situated,
                                                   CLASS ACTION COMPLAINT FOR
         Plaintiff,                                VIOLATIONS OF THE FEDERAL
                                                   SECURITIES LAWS
         v.
                                                   JURY TRIAL DEMANDED
  FUTUREFUEL CORP., TOM MCKINLAY,
  and ROSE M. SPARKS,

         Defendants.



       Plaintiff Kamil Wilkinson (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to Plaintiff

and Plaintiff’s own acts, and information and belief as to all other matters, based upon, among



                                              1
Case: 4:24-cv-00881-SPM            Doc. #: 1      Filed: 06/24/24      Page: 2 of 25 PageID #: 2




other things, the investigation conducted by and through his attorneys, which included, among

other things, a review of the Defendants’ public documents, public filings, wire and press releases

published by and regarding FutureFuel Corp. (“FutureFuel” or the “Company”), and information

readily obtainable on the Internet. Plaintiff believes that substantial evidentiary support will exist

for the allegations set forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a class action on behalf of persons or entities who purchased or otherwise

acquired publicly traded FutureFuel securities between August 10, 2023 and May 10, 2024,

inclusive (the “Class Period”). Plaintiff seeks to recover compensable damages caused by

Defendant’s violations of the federal securities laws under the Securities Exchange Act of 1934

(the “Exchange Act”)

                                 JURISDICTION AND VENUE

       2.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).

       4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged misstatements entered and the

subsequent damages took place in this judicial district.

       5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,




                                                  2
Case: 4:24-cv-00881-SPM            Doc. #: 1      Filed: 06/24/24    Page: 3 of 25 PageID #: 3




including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

       6.      Plaintiff, as set forth in the accompanying certification, incorporated by reference

herein, purchased FutureFuel securities during the Class Period and was economically damaged

thereby.

       7.      Defendant FutureFuel describes itself as “a Delaware corporation, and, through its

wholly-owned subsidiary, FutureFuel Chemical Company, manufactures diversified chemical

products, bio-based fuel products, and bio-based specialty chemical products.”

       8.      FutureFuel is incorporated in Delaware and its principal executive offices are

located at 8235 Forsyth Blvd., Suite 400, St. Louis, Missouri 63105. The Company’s common

stock trades on the New York Stock Exchange under the ticker symbol “FF.”

       9.      Defendant Tom McKinlay (“McKinlay”) served as the Company’s Chief

Executive Officer (“CEO”) throughout the Class Period.

       10.     Defendant Rose M. Sparks (“Sparks”) served as the Company’s Chief Financial

Officer (“CFO”) throughout the Class Period.

       11.     Defendants McKinlay and Sparks are collectively referred to herein as the

“Individual Defendants.”

       12.     Each of the Individual Defendants:

               (a)     directly participated in the management of the Company;

               (b)     was directly involved in the day-to-day operations of the Company at the

                       highest levels;




                                                  3
Case: 4:24-cv-00881-SPM            Doc. #: 1     Filed: 06/24/24     Page: 4 of 25 PageID #: 4




                (c)    was privy to confidential proprietary information concerning the Company

                       and its business and operations;

                (d)    was directly or indirectly involved in drafting, producing, reviewing and/or

                       disseminating the false and misleading statements and information alleged

                       herein;

                (e)    was directly or indirectly involved in the oversight or implementation of

                       the Company’s internal controls;

                (f)    was aware of or recklessly disregarded the fact that the false and

                       misleading statements were being issued concerning the Company; and/or

                (g)    approved or ratified these statements in violation of the federal securities

                       laws.

       13.      FutureFuel is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency because all of

the wrongful acts complained of herein were carried out within the scope of their employment.

       14.      The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to the Company under respondeat superior and agency principles.

       15.      FutureFuel and the Individual Defendants are collectively referred to herein as

“Defendants.”

                                 SUBSTANTIVE ALLEGATIONS
                         Materially False and Misleading Statements
                              Issued During the Class Period

       16.      On August 9, 2023, after market hours, the Company filed with the SEC its

quarterly report on Form 10-Q for the period ended June 30, 2023 (the “2Q23 Report”). Attached

to the 2Q23 Report were certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”)



                                                4
Case: 4:24-cv-00881-SPM           Doc. #: 1      Filed: 06/24/24     Page: 5 of 25 PageID #: 5




signed by Defendants McKinlay and Sparks attesting to the accuracy of financial reporting, the

disclosure of any material changes to the Company’s internal control over financial reporting and

the disclosure of all fraud.

        17.     The 2Q23 Report stated the following regarding the Company’s internal controls:

         Under the supervision and with the participation of our chief executive officer and our
        principal financial officer and other senior management personnel, we evaluated the
        effectiveness of the design and operation of our disclosure controls and procedures (as
        defined in Rules 13a-15(e) and 15(d)-15(e)) under the Securities Exchange Act of 1934, as
        amended (the “Exchange Act”), as of the end of the period covered by this report. Based
        on that evaluation, our chief executive officer and our principal financial officer have
        concluded that these disclosure controls and procedures at June 30, 2023 were effective to
        ensure that information required to be disclosed in the reports that we file or submit under
        the Exchange Act is recorded, processed, summarized, and reported within the time periods
        specified in the SEC’s rules and forms.

        Management believes that the consolidated financial statements included in this Quarterly
        Report on Form 10-Q present fairly in all material respects our consolidated financial
        position, results of operations and cash flows for the period presented.

        18.     The statement in ¶ 17 was materially false and misleading at the time it was made

because the Company lacked effective internal controls.

        19.     The 2Q23 Report provided the following, in pertinent part, regarding the

Company’s financials:




                                                 5
Case: 4:24-cv-00881-SPM            Doc. #: 1     Filed: 06/24/24    Page: 6 of 25 PageID #: 6




       20.     The financials provided in ¶ 19 were materially false and misleading.

       21.     On November 9, 2023, the Company filed with the SEC its quarterly report on Form

10-Q for the period ended September 30, 2023 (the “3Q23 Report”). Attached to the 3Q23 Report

were certifications pursuant to SOX signed by Defendants McKinlay and Sparks attesting to the

accuracy of financial reporting, the disclosure of any material changes to the Company’s internal

control over financial reporting and the disclosure of all fraud.

       22.     The 3Q23 Report stated the following regarding the Company’s internal controls:



                                                 6
Case: 4:24-cv-00881-SPM          Doc. #: 1      Filed: 06/24/24     Page: 7 of 25 PageID #: 7




       Under the supervision and with the participation of our chief executive officer and our
       principal financial officer and other senior management personnel, we evaluated the
       effectiveness of the design and operation of our disclosure controls and procedures (as
       defined in Rules 13a-15(e) and 15(d)-15(e)) under the Securities Exchange Act of 1934,
       as amended (the “Exchange Act”), as of the end of the period covered by this report. Based
       on that evaluation, our chief executive officer and our principal financial officer have
       concluded that these disclosure controls and procedures at September 30,
       2023 were effective to ensure that information required to be disclosed in the reports that
       we file or submit under the Exchange Act is recorded, processed, summarized, and
       reported within the time periods specified in the SEC’s rules and forms.

       Management believes that the consolidated financial statements included in this Quarterly
       Report on Form 10-Q present fairly in all material respects our consolidated financial
       position, results of operations and cash flows for the period presented.
       23.     The statement in ¶ 22 was materially false and misleading at the time it was made
because the Company lacked effective internal controls.

       24.    The 3Q23 Report provided the following, in pertinent part, regarding the

Company’s financials:




                                               7
Case: 4:24-cv-00881-SPM           Doc. #: 1     Filed: 06/24/24     Page: 8 of 25 PageID #: 8




       25.     The financials provided in ¶ 24 were materially false and misleading.

       26.     On March 14, 2024, the Company filed with the SEC its annual report on Form

10-K for the period ended December 31, 2023 (the “2023 Annual Report”). Attached to the 2023

Annual Report were certifications pursuant to SOX signed by Defendants McKinlay and Sparks

attesting to the accuracy of financial reporting, the disclosure of any material changes to the

Company’s internal control over financial reporting and the disclosure of all fraud.




                                                8
Case: 4:24-cv-00881-SPM           Doc. #: 1      Filed: 06/24/24     Page: 9 of 25 PageID #: 9




       27.    The 2023 Annual Report stated the following regarding the Company’s internal

controls:

       Our management is responsible for establishing and maintaining adequate internal control
       over financial reporting. Our internal control over financial reporting is a process designed
       to provide reasonable assurance regarding the reliability of financial reporting and the
       preparation of financial statements for external purposes in accordance with GAAP.

       Because of its inherent limitations, internal control over financial reporting may not
       prevent or detect misstatements. Also, projections of any evaluation of effectiveness to
       future periods are subject to the risk that controls may become inadequate because of
       changes in conditions, or that the degree of compliance with the policies or procedures
       may deteriorate.

       Management assessed the effectiveness of our internal control over financial reporting as
       of December 31, 2023. In making this assessment, management used the criteria set forth
       by the Committee of Sponsoring Organizations of the Treadway Commission (COSO) in
       Internal Control-Integrated Framework (2013). Based on this assessment, management
       has concluded that, as of December 31, 2023, our internal control over financial reporting
       is effective based on those criteria.

       The effectiveness of our internal control over financial reporting as of December 31, 2023
       has been audited by RSM US LLP, a registered public accounting firm, which expressed
       an unqualified opinion as stated in their report, a copy of which is included below.
       28.    The statement in ¶ 27 was materially false and misleading at the time it was made
because the Company lacked effective internal controls.
       29.    The 2023 Annual Report included the following financial figures:




                                                9
Case: 4:24-cv-00881-SPM   Doc. #: 1   Filed: 06/24/24   Page: 10 of 25 PageID #: 10




                                      10
Case: 4:24-cv-00881-SPM            Doc. #: 1   Filed: 06/24/24     Page: 11 of 25 PageID #: 11




       30.     The financials provided in ¶ 29 were materially false and misleading.
       31.     The statements contained in ¶¶ 17, 19, 22, 24, 27 and 29 were materially false
and/or misleading because they misrepresented and failed to disclose the following adverse facts
pertaining to the Company’s business, operations, and prospects, which were known to Defendants
or recklessly disregarded by them. Specifically, Defendants made false and/or misleading
statements and/or failed to disclose that: (1) FutureFuel did not have adequate internal controls;
(2) FutureFuel’s financial statements were misstated; and (3) as a result, Defendants’ statements
about its business, operations, and prospects, were materially false and misleading and/or lacked
a reasonable basis at all times.
                             THE TRUTH BEGINS TO EMERGE

       32.     On May 10, 2024, the Company filed with the SEC a Current Report on Form 8-

K (the “May 10 Current Report”). It revealed the following:

       FutureFuel Corp. (the “Company”) has identified a correction required to be made to its
       historical consolidated statements of cash flows for the six months ended June 30, 2023,
       nine months ended September 30, 2023 and year ended December 31, 2023. The
       correction relates solely to the reported amount of “Other assets” and the resulting total
       amount of “Net Cash Flows From Operating Activities” and the reported amount
       of “Collateralization of derivative instruments” and the resulting total amount of “Net
       Cash Flows from Investing Activities” in the respective consolidated statements of cash
       flows for the six months ended June 30, 2023, nine months ended September 30, 2023 and
       year ended December 31, 2023 (collectively, the “Correction”). The Correction does not
       impact the Company’s overall cash position, its consolidated balance sheets,
       its consolidated statements of operations and comprehensive income (loss), or
       its consolidated statements of stockholders’ equity as of or for the periods ended June 30,
       2023, September 30, 2023 or December 31, 2023.

                                             *       *     *
       On May 8, 2024, management and the audit committee of the board of directors of the
       Company concluded that, as a result of the Correction and in accordance with, Staff
       Accounting Bulletin No. 99, “Materiality,” the consolidated statements of cash flows
       included in the Company’s previously issued unaudited financial statements in the
       Quarterly Reports on Form 10-Q for the periods ended June 30, 2023, and September 30,
       2023, and the previously issued audited Consolidated Statement of Cash Flows on Form
       10-K for the year ended December 31, 2023, were materially misstated and should no
       longer be relied upon due to the Correction. In addition, any Company communications
       or presentations relating to the Correction should no longer be relied upon.



                                               11
Case: 4:24-cv-00881-SPM         Doc. #: 1     Filed: 06/24/24      Page: 12 of 25 PageID #: 12




       The Company will report the restatement in an amendment to each of the Quarterly
       Reports on Form 10-Q for the quarters ended June 30, 2023, and September 30, 2023 (the
       “Form 10-Q/As”), and to the Annual Report on Form 10-K for the year ended December
       31, 2023 (the “Form 10-K/A”). The financial information that has been previously filed
       or otherwise reported for these periods with respect to the Correction will be superseded
       by the information to be included in the consolidated financial statements in the Form 10-
       Q/As and Form 10-K/A.

       In addition, the Company’s management has concluded that, as a result of the
       Correction, a material weakness existed in the Company’s internal control over
       financial reporting as of June 30, 2023, September 30, 2023, and December 31, 2023,
       and that, because of this material weakness, the Company’s disclosure controls and
       procedures were not effective as of June 30, 2023, September 30, 2023, and
       December 31, 2023. The Company’s remediation plan with respect to such material
       weakness will be described in more detail in the Company’s Form 10-Q/As and Form 10-
       K/A.

       The Company’s management and audit committee of the board of directors discussed the
       matters disclosed in this Item 4.02 with its independent registered public accounting firm,
       RSM US LLP.

       (Emphasis added).

       33.     The May 10 Current Report then included a summary of the impact on its

financials:




                                               12
Case: 4:24-cv-00881-SPM      Doc. #: 1     Filed: 06/24/24    Page: 13 of 25 PageID #: 13




      34.    On May 10, 2024, the Company filed with the SEC its amended 2Q23 and 3Q23

Reports on Form 10-Q/A, and its amended 2023 Annual Report on Form 10-K/A.

      35.    The amended 2Q23 Report contained the following restated financial figures:




                                           13
Case: 4:24-cv-00881-SPM     Doc. #: 1     Filed: 06/24/24    Page: 14 of 25 PageID #: 14




      36.   The amended 3Q23 Report contained the following restated financial figures:




                                          14
Case: 4:24-cv-00881-SPM   Doc. #: 1   Filed: 06/24/24   Page: 15 of 25 PageID #: 15




                                      15
Case: 4:24-cv-00881-SPM         Doc. #: 1     Filed: 06/24/24      Page: 16 of 25 PageID #: 16




       37.    The amended 2023 Annual Report contained the following disclosure regarding

the Company’s internal controls:

       We have identified a material weakness in our internal control over financial reporting
       as of December 31, 2023, September 30, 2023 and June 30, 2023, and continuing as of
       the date hereof which was correctly presented but had not been fully remediated, that
       resulted in a restatement of certain of our statements of cash flows. If we are not able
       to remediate this material weakness or otherwise fail to maintain effective internal
       control over financial reporting, we might not be able to report our financial results
       accurately or prevent fraud; in that case, our stockholders could lose confidence in our
       financial reporting, which would harm our business and could negatively impact the
       value of our stock.

       Effective internal controls are necessary for us to provide reliable financial reports and
       prevent fraud. The process of maintaining our internal controls may be expensive, and
       time consuming, and may require significant attention from management. As disclosed in
       this Amendment No. 1, we have identified a material weakness in our internal control over
       financial reporting, which existed as of December 31, 2023, September 30, 2023 and June
       30, 2023. This error was the result of review controls of the cash flow statement which did
       not operate as designed and as such resulted in these errors. The Company has determined
       that the error did not have an impact on the Company’s overall cash position, its
       consolidated balance sheets, its consolidated statements of income and comprehensive
       income, or its consolidated statement of changes in stockholders’ equity as previously
       reported.

       This material weakness resulted in the errors described in the Explanatory Note and
       Background of the Restatement. We have commenced efforts to remediate the material
       weakness as described in more detail in Part II, Item 9A. Controls and Procedures in this
       Amendment No. 1. However, this material weakness will not be considered remediated
       until the controls operate for a sufficient period of time and management has concluded,
       through testing, that these controls operate effectively. Our efforts to remediate this
       material weakness may be time consuming and costly. We cannot provide assurance that
       such efforts will ultimately have the intended effect. If we fail to remediate the existing
       material weakness or we or our independent registered public accounting firm discover
       additional material weaknesses, the value of our stock and our business could be harmed.
       As a result of the material weakness and the restatement of certain of our statements of
       cash flows, we may face litigation or regulatory investigations that could have a material
       adverse effect on the Company and its business and results of operations.

       Further, because of its inherent limitations, internal control over financial reporting may
       not prevent or detect fraud or misstatements. Failure to implement required new or
       improved controls, or difficulties encountered in their implementation, could harm our
       results of operations or cause us to fail to meet our reporting obligations.




                                               16
Case: 4:24-cv-00881-SPM         Doc. #: 1      Filed: 06/24/24     Page: 17 of 25 PageID #: 17




       38.     The amended 2023 Annual Report contained the following restated financial

figures:




       39.     On this news, the price of FutureFuel stock declined by $0.09, or 1.6%, to close at

$5.50 on May 10, 2024. It then fell a further $0.47, or 8.54%, to close at $5.03 on May 13, 2024.

It declined by a further $0.06, or 1.19%, to close at $4.97 on May 14. 2024.

       40.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s common shares, Plaintiff and the other Class members have

suffered significant losses and damages.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       41.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than defendants

who acquired FutureFuel securities publicly traded on the NYSE during the Class Period, and

who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the officers

                                               17
Case: 4:24-cv-00881-SPM           Doc. #: 1      Filed: 06/24/24       Page: 18 of 25 PageID #: 18




and directors of the Company, members of the Individual Defendants’ immediate families and

their legal representatives, heirs, successors or assigns and any entity in which Defendants have

or had a controlling interest.

       42.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, the Company’s securities were actively traded on the

NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds, if not

thousands of members in the proposed Class.

       43.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       44.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

       45.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

       •       whether the Exchange Act was violated by Defendants’ acts as alleged herein;

       •       whether statements made by Defendants to the investing public during the Class

               Period misrepresented material facts about the business and financial condition of

               the Company;




                                                 18
Case: 4:24-cv-00881-SPM          Doc. #: 1      Filed: 06/24/24     Page: 19 of 25 PageID #: 19




          •     whether Defendants’ public statements to the investing public during the Class

                Period omitted material facts necessary to make the statements made, in light of

                the circumstances under which they were made, not misleading;

          •     whether the Defendants caused the Company to issue false and misleading filings

                during the Class Period;

          •     whether Defendants acted knowingly or recklessly in issuing false filings;

          •     whether the prices of the Company’s securities during the Class Period were

                artificially inflated because of the Defendants’ conduct complained of herein; and

          •     whether the members of the Class have sustained damages and, if so, what is the

                proper measure of damages.

          46.   A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually redress

the wrongs done to them. There will be no difficulty in the management of this action as a class

action.

          47.   Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

          •     the Company’s securities met the requirements for listing, and were listed and

                actively traded on the NYSE, an efficient market;

          •     as a public issuer, the Company filed public reports;

          •     the Company communicated with public investors via established market

                communication mechanisms, including through the regular dissemination of press



                                                19
Case: 4:24-cv-00881-SPM           Doc. #: 1     Filed: 06/24/24      Page: 20 of 25 PageID #: 20




                releases via major newswire services and through other wide-ranging public

                disclosures, such as communications with the financial press and other similar

                reporting services;

        •       the Company’s securities were liquid and traded with moderate to heavy volume

                during the Class Period; and

        •       the Company was followed by a number of securities analysts employed by major

                brokerage firms who wrote reports that were widely distributed and publicly

                available.

        48.     Based on the foregoing, the market for the Company securities promptly digested

current information regarding the Company from all publicly available sources and reflected such

information in the prices of the common units, and Plaintiff and the members of the Class are

entitled to a presumption of reliance upon the integrity of the market.

        49.     Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material information in their

Class Period statements in violation of a duty to disclose such information as detailed above.

                                            COUNT I
            For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                     Against All Defendants

        50.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        51.     This Count asserted against Defendants is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.




                                                 20
Case: 4:24-cv-00881-SPM          Doc. #: 1      Filed: 06/24/24      Page: 21 of 25 PageID #: 21




          52.   During the Class Period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

          53.   Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

                •      employed devices, schemes and artifices to defraud;

                •      made untrue statements of material facts or omitted to state material facts

                       necessary in order to make the statements made, in light of the

                       circumstances under which they were made, not misleading; or

                •      engaged in acts, practices and a course of business that operated as a fraud

                       or deceit upon plaintiff and others similarly situated in connection with their

                       purchases of the Company’s securities during the Class Period.

          54.   Defendants acted with scienter in that they knew that the public documents and

statements issued or disseminated in the name of the Company were materially false and

misleading; knew that such statements or documents would be issued or disseminated to the

investing public; and knowingly and substantially participated, or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the securities laws. These

defendants by virtue of their receipt of information reflecting the true facts of the Company, their

control over, and/or receipt and/or modification of the Company’s allegedly materially misleading

statements, and/or their associations with the Company which made them privy to confidential

proprietary information concerning the Company, participated in the fraudulent scheme alleged

herein.



                                                21
Case: 4:24-cv-00881-SPM          Doc. #: 1      Filed: 06/24/24      Page: 22 of 25 PageID #: 22




       55.      Individual Defendants, who are or were senior executives and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other Company’s personnel to members

of the investing public, including Plaintiff and the Class.

       56.     As a result of the foregoing, the market price of the Company’s securities was

artificially inflated during the Class Period. In ignorance of the falsity of Defendants’ statements,

Plaintiff and the other members of the Class relied on the statements described above and/or the

integrity of the market price of the Company’s securities during the Class Period in purchasing

the Company’s securities at prices that were artificially inflated as a result of Defendants’ false

and misleading statements.

       57.     Had Plaintiff and the other members of the Class been aware that the market price

of the Company’s securities had been artificially and falsely inflated by Defendants’ misleading

statements and by the material adverse information which Defendants did not disclose, they would

not have purchased the Company’s securities at the artificially inflated prices that they did, or at

all.

       58.      As a result of the wrongful conduct alleged herein, Plaintiff and other members of

the Class have suffered damages in an amount to be established at trial.

       59.     By reason of the foregoing, Defendants have violated Section 10(b) of the 1934

Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the other members

of the Class for substantial damages which they suffered in connection with their purchase of the

Company’s securities during the Class Period.



                                                 22
Case: 4:24-cv-00881-SPM           Doc. #: 1    Filed: 06/24/24      Page: 23 of 25 PageID #: 23




                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

       60.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       61.     During the Class Period, the Individual Defendants participated in the operation

and management of the Company, and conducted and participated, directly and indirectly, in the

conduct of the Company’s business affairs. Because of their senior positions, they knew the

adverse non-public information about the Company’s business practices.

       62.     As officers of a public business, the Individual Defendants had a duty to

disseminate accurate and truthful information with respect to the Company’s financial condition

and results of operations, and to correct promptly any public statements issued by the Company

which had become materially false or misleading.

       63.      Because of their positions of control and authority as senior executives and/or

directors, the Individual Defendants were able to, and did, control the contents of the various

reports, press releases and public filings which the Company disseminated in the marketplace

during the Class Period concerning the Company’s results of operations. Throughout the Class

Period, the Individual Defendants exercised their power and authority to cause the Company to

engage in the wrongful acts complained of herein. The Individual Defendants therefore, were

“controlling persons” of the Company within the meaning of Section 20(a) of the Exchange Act.

In this capacity, they participated in the unlawful conduct alleged which artificially inflated the

market price of Company securities.

       64.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Company.



                                                23
Case: 4:24-cv-00881-SPM          Doc. #: 1      Filed: 06/24/24      Page: 24 of 25 PageID #: 24




                                    PRAYER FOR RELIEF

        WHEREFORE, plaintiff, on behalf of himself and the Class, prays for judgment and

relief as follows:

        (a)     declaring this action to be a proper class action, designating plaintiff as Lead

Plaintiff and certifying plaintiff as a class representative under Rule 23 of the Federal Rules of

Civil Procedure and designating plaintiff’s counsel as Lead Counsel;

        (b)     awarding damages in favor of plaintiff and the other Class members against all

defendants, jointly and severally, together with interest thereon;

        (c)     awarding plaintiff and the Class reasonable costs and expenses incurred in this

action, including counsel fees and expert fees; and

        (d)     awarding plaintiff and other members of the Class such other and further relief as

the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.




                                                24
Case: 4:24-cv-00881-SPM   Doc. #: 1    Filed: 06/24/24        Page: 25 of 25 PageID #: 25




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                                        25
